                      Case: 1:02-cr-00200 Document #: 1876 Filed: 05/10/19 Page 1 of 8 PageID #:7603
ILND 245C (Rev. 0410212018) Amended Judgment in      a   Criminal Case
                                                                                                                                                                %
                                                                                                                        (Note: Identifl, Changes with Asterisks (*))
Sheet I




                                      UNITED STATES DISTRICT COURT
                                                                   Northern District of Illinois

  UNITED STATES OF AMERICA                                                          AMENDED JUDGMENT IN A CRIMINAL CASE
               v.
  ANDRE LAWRENCE                                                                    CaseNumber: l:02-CR-00200(22)
                                                                                    USM    Number:      20739-424
 Date of Original Judgment: 71912010
 (Or Date of Last Amended Judgment)                                                 Mark Herbert Kusatzky
                                                                                    Defendant's Attorney
  Reason for Amendment:
  E       Correction of Sentence on Remand (18 U.S.C. 3742(\(l) and (2))            E    Modification of Supervision Conditions (18 U.S.C. ri0 3563(c) or
  E       Reduction of Sentence for Changed Circumstances (Fed. R. Crim.                 3583(e))
          P. 35(b))                                                                 E    Modification of Imposed Term of lmprisonment for Extraordinary
  E       Correction of Sentence by Sentencing Court (Fed. R. Crim. P. 35(a))            and Compelling Reasons (18 U.S.C. g 3582(c)( I ))

  El   Correction of Sentence for Clerical Mistake (Fed. R. Crim. P. 36)            E    Modification of Imposed Term of Imprisonment for Retroactive
                                                                                         Amendment(s) to the Sentencing Guidelines ( I 8 U.S.C. $
  I       tvtoditication of Imposed Term of Imprisonment Pursuant to Section
                                                                                         3582(c)(2))
          404 ofthe First Step Act
                                                                                    tr   Direct Motion to District Court Pursuant   E   ZS U.S.C. g ZZSS
                                                                                         or E r8 u.s.c.   $ 3559(cX7)
                                                                                    E    Modification of Restitution Order (18 U.S.C. g 3664)
THE DEFENDANT:
      E   pleaded guilty to count(s)
   E      pleaded nolo contendere to    count(s)            which was accepted by the court.
   I      was found guilty on count(s) one     (l)   and Thirty-Nine (39) after a plea of not guilty.

The defendant is adjudicated guilty ofthese offenses:
 Title & Section / Nature of Offense                                                                          Offense Ended                     Count
 2l :846 Narcotics Conspiracy                                                                                 03/5t2002                         I
 l8:924(c)( l)(A) Carrying A Firearm In Relation to Drug Offense                                              03/5/2002                         39




The defendant is sentenced as provided in pages 2 through 2 of this judgment. The sentence is imposed pursuant to the Sentencing Reform
Act of 1984.        than                                     sta
attachments)

  EI ttre defendant has been found not guilty on count(s)
  E       Count(s) <dismissd_counts> dismissed on the motion of the United States.

          It is ordered that the defendant must notiry the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to
pay restitution, the defendant must notifr the court and United States attorney of material changes in economic circumstances.




                                                                                                   R. Pallmeyer , United States District Judge
                                                                                            Name and Title of Judge

                                                                                               S
                                                                                            Date
                                                                                                    -16     - lq
                     Case: 1:02-cr-00200 Document #: 1876 Filed: 05/10/19 Page 2 of 8 PageID #:7604
ILND 245C (Rev. 0410212018) Amended Judgment in        a   Criminal Case                                       (Note: Identily Changes with Asterisks (*))
    - Imprisonment
Sheet 2                                                                                                                            Judgment - Pase 2 of 2
DEFENDANT: ANDRE LAWRENCE
CASE NUMBER: 1 :02-CR-00200(22)
                                                                           IMPRISONMENT
The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total term of:
Time served as to count l; Time served as to count 39

   tr      The court makes the following recommendations to the Bureau of Prisons:

   tr      The defendant is remanded to the custody of the United States Marshal.

   tr      The defendant shall surrender to the United States Marshal for this district:

               tl         at          on

          tr        as   notified by the United States Marshal.

          tr    The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

               tr         before 2:00 pm on

               tr         as   notified by the United States Marshal.

               tr         as   notified by the Probation or Pretrial Services Office.




                                                                             RETURN

I have executed this judgment as follows:




Defendant delivered            on                to                                                              , with a certified copy of this
judgment.




                                                                                             LJNITED STATES MARSHAL


                                                                                        By
                                                                                        DEPUTY UNITED STATES MARSHAL
                Case: 1:02-cr-00200 Document #: 1876 Filed: 05/10/19 Page 3 of 8 PageID #:7605
\AO 245C       (Rev. 06/05) Amended Judgment in a Criminal Case                                                              (NOIE: ldentiS       Changes with Asterisks   (i))
               Sheet   I




                                             UmrBr Srarps Dtsrrucr                                       CoURT
                                 Northern                                District of                                          Illinniq
           UNITED STATES OF AMERICA                                                 AMENDED JUDGMENT IN A CRIMINAL CASE
                                 v.
                           ANDRE LAWRENCE                                           Case Number:                      2cr200-22
                                                                                    USM Number:
Date of Original Judgmentz                @                                         Thomas Gibbons
(Or Date of Last Amended Judgment)                                                  Defendant's Attomey

Reason      for Amendment:
I    Correction ofsentence on Remand (18 U.S.C.3742(0(l) and (2))                   E    Modification of Supervision Conditions (18 U.S,C. $$ 3563(c) or 3583(e))
!    Reduction o[ Sentence lor Changed Circumstances (Fed. R. Crim.                 !    Modification of lmposed Term of Imprisonment for Extraordinary and
     P 3s(b)                                                                             Compelling Reasons (18 U.S.C. $ 3582(c)(l))
{    Correction ofsentence by SentencingCourt (Fed. R. Crim. P. 35(a))              E    xModification of Imposed Term of Imprisonment tbr Retroactive
                                                                                         to the Sentencing Guideline s ( I 8 U.S.C. li 3582(c)(2))
n    Conection of Sentence for Clerical Mistake (Fed. R. Crim. P. 36)
                                                                                    fl   Direct Motion to District Court Pursuant         I   ZS U.S.C. S 2255   or
                                                                                         n   18 U.S.C. $ 3559(cX7)

                                                                                    n    Moditication of Restitution Order   1   I   8 U.S.C. $ 3664)


THE DEFENDANT:
tr    pleaded guilty to count(s)

tr    pleaded nolo contendere to count(s)
      which was accepted by the court.
X     was found guilty on       count(s) ONE (l)        and THIRTY-NINE (39)
      after a plea of not guilty.
The defendant is adjudicated guilty ofthese offenses:
Title & Section                       Nature of Offense                                                                  Offense Ended                           Count




       The defendant is sentenced as provided in pages 2
the Sentencing Reform Act of 1984.
                                                                                5                of this judgment. The sentence is imposed pursuant to


tr    The defendant has been found not guilty on count(s)
X     Count(s)                                                    X is I   are dismissed on thc motion of the United States.
          It is ordered that the defendant must notifo the United States Attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, ind special assessments imfiosed by this iudgmcnt are fully paid.'lf ordEred to pay restitution,
the defen"dant must notifu the c6urt and United States ahorney of material chhnges iri ecodomjc circumstan-cds.
                                                                                     Julv 9.2010
                                                                                     Date of Imposition of Judgment




                                                                                     Wavne R. Andersen. U.S. District Judse
                                                                                     Name and Title of Judge
           Case: 1:02-cr-00200 Document #: 1876 Filed: 05/10/19 Page 4 of 8 PageID #:7606



AO   245C   (Rev. 06/05) Arnended Judgment in a Criminal Case
            Sheet 2    lmprisonment                                                                           (NOTE:     Identi!   with
                     -
                                                                                                         Judgment       Page       of
DEFENDANT:
                                                                                                                    -
                            LAWRENCE, ANDRE
C:ASE      NUMBER:          2 CR200-22

                                                                IMPRISONMENT

     The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term
**TWO HL|NDRED FIFTY-TWO (252) MONTHS AS TO COUNT one (l). Sixty (60) months to stand as to count thirry-
nine (39). Count thimy-nine (39) to run consecutive to count one.




tr   The court makes the following reoommendations to the Bureau of Prisons:




x    The defendant is remanded to the custody of the United States Marshal.

tr   The defendant shall surrender to the United States Marshal for this district:

     tl     at                                     ! a.m. tr p.m.                  on

      tr    as   notified by the United States Marshal.

D    The defendant shall surrender for service ofsentence at the institution designated by the Bureau ofPrisons:

     tr     before 2 p.m. on

     n      as   notified by the United States Marshal.

     tr     as   notified by the Probation or Preffial Services Office.



                                                                    RETURN
I have executed this judgment as follows:




     Defendant delivered on

                                                         with a certified copy of this judgment.




                                                                                                      UNITED STATES MARSHAL



                                                                           By
                                                                                                   DEPUTY UNITED STATES MARSHAL
                 Case: 1:02-cr-00200 Document #: 1876 Filed: 05/10/19 Page 5 of 8 PageID #:7607
                      (Rev. 06/05) Amended Judgment in a Criminal Case
                      Sheet 3       Supervised Release
                                -
DEFENDANT:                               LAWRENCE, ANDRE
CASENUMBER: 2CR200-22
                                                                  SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of
TEN (10) YEARS as to count one (1) and THREE (3) YEARS as to count thirty-nine (39), said periods to run concunent.




         The defendant must reDort to the probation offrce in the district to which the defendant is released within 72 hours of release from
the custody ofthe Bureau of Prisons.
The defendant shall not commit another federal, state, or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall sribinit to one drug test within I 5 days of release from imprisonment anil at least two periodic drug tests
thereafter, as determined by the court.

!            The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk        of
              future substance abuse. (Check, if applicable.)

X            The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)

!            The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)

tr           The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
             student, as directed by the probation officer. (Check, if applicable.)

D            The defendant shall participate in an approved program for domestic violence. (Check, ifapplicable.)

        Ifthisjudgment imposes_a_fine or restitution, it is a condition of supervised release that the defendant pay in accordance with
the Schedule of Palments stieet of this judgment.
         The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
conditions on the attached page.


                                                     STANDARD CONDITIONS OF SUPERVISION
        l)    the defendant shall not leave thejudicial district without the permission ofthe court or probation officer;

        2)    thedefendant shall repom to the probation officer and shall submit   a   truthful and complete written report within the first five days of
              each month;
        3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
        4)    the defendant shall support his or her dependents and meet other family responsibilities;
        5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
              acceptable reasons;
        6)    the defendant shall notifu the probation officer at least ten days prior to any change in residence or employment;
        7)    the defendant shall refrain from excessive use ofalcohol and shall not purchase. Dossess. use. distribute. or administer anv
                                                                                                                                       '_-
              controlled substance or any paraphernalia related to any controlled sub'stances, i:icept as preiciiUeA     6ii
                                                                                                                         pnviiiian;
        8)    the defendant shall not ltequent places where controlled substances are illegally sold, used, distributed, or administered;
        e)    the defendant shall not associate.with afy persons engaged in criminal activity and shall not associate with any person convicted       of
              a felony, unless granted permission to d6 3o by the pio6ation offfer;
    l0)          d_efe.nd,ant qha,ll permjq a probation officer to visit him^or her at any time at home or elsewhere and shall permit confiscation
              llt-9                                                                                                                                   of
              any contraband observed in plain view of the probation officer;
    I) the defendant shall notily the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
        I

    12) the defe.ndant shall not enter into anv asreement to act as an informer or a special agent of a law enforcement agency without the
              permission of the court; and
    l3)       asdirected by the.probation officer, the defendant shall notif, third parties of risks that may be occasioned by the defendant's criminal
              record, personal history. or characteristics and shall permifthe probation oflficer to mak6 sucti notii'iiiioil;dAnfirm ttrJ -'
        Case: 1:02-cr-00200 Document #: 1876 Filed: 05/10/19 Page 6 of 8 PageID #:7608
AO   245C (Rev. 06/05) Amended Judgment in a Criminal Case
          Sheet 34       Supervised Release                                                  (NOTE: Identi$
                     -
                                                                                          Judgment-Page
DEFENDANT:                  LAWRENCE, ANDRE
CASENUMBER: 2CF.200-22

                                      ADDITIONAL SUPERVISED RELEASE TERMS
The defendant shall not possess a firearm or destructive device. The Court waives the costs of incarceration and
supervision. Within 72 hours of release from the custody o the Bureau of Prisons, the defendant shall report in person to
the probation office in the district to which the defendani is released. The defendint shall participate in h drug iftercare
treatment program which may include urine testing at the direction of the probation officer.
          Case: 1:02-cr-00200 Document #: 1876 Filed: 05/10/19 Page 7 of 8 PageID #:7609
AO   245C   (Rev. 06/05) Amended Judgment in a Criminal Case
            Sheet 5    Criminal Monetarv Penalties                                                       (NO I E: Ident
                   -
                                                                                                 Judgment       Page
                                                                                                            -
DEFENDANT:                        LAWRENCE, ANDRE
CASE NUMBER:                      2CR200-22
                                             CRIMINAL MONETARY PENALTIES
     The defendant must pay the following total criminal monetary penalties under the schedule of payments on Sheet 6.

                       Assessment                                    Fine                                Restitution
TOTALS            $    200.00                                   $ N/A                                 S N/A


n    The determination of restitution is deferred     until     .   An Amended Judgment in a Criminal Case (AO 245C) will be
      entered after such determination.

tr   The defendant shall make restitution (including community restitution) to the following payees in the amount listed below.

     If the defendant makes a partial payment. each pavee shall receive an apDroximatelv proportioned pavment. unless specified otherwise
     intheprioriryorderorpertentag6p'aymeritcolumdbelow. However.puiduanttol8U:S.C.$3664(i),dllnoniederalvictimsmustbepaid
     beford the tlnited Stat6s is   paiil '
Name of Payee                                Total Loss*                     Restitution Ordered                       Prioritv or Percentase




TOTALS


tr    Restitution amount ordered pursuant to plea agreement $

tr    The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
      fifteenth day after the date of the judgment, pursuant to l8 U.S.C. g 3612(0, All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant ro 18 U.S.C. g 3612(g).

!     The court determined that the defendant does not have the ability to pay interest, and it is ordered that:

      D                                    for [ fine ! restitution
          the interest requirement is waived

      n   the interest requirement for the tr fine n restitution is modified as follows:

* Findings for the total amount of losses are required
after Sep-tember 13. 1994, but befor-Apiiiz3)tgs6.-"
                                                       under Chapters 109A, I10, I l0A, and    ll34   of Title l8 for offenses committed on or
          Case: 1:02-cr-00200 Document #: 1876 Filed: 05/10/19 Page 8 of 8 PageID #:7610

           (Rev. 06/05) Amended Judgment in a Criminal Case



DEFENDANT:                LAWRENCE, ANDRE
CASENUMBER:               2 CR200-22

                                                   SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties shall be due as follows:

A X       Lump sum payment of      $ 200.00                   due immediately, balance due

          D    not laterthan                                     ,or
          tr   in accordance   with   I C, tr D, tr           or ! F below; or
                                                                 E,

B    !    Payment to begin immediately      (may be combined with ! C,    ! D, or                E   F below); or

C    tr   Payment in   equal                     (e.g., weekly, monthly, quarterly) installments of $                      over a period of
                         (e.g., months or years), to   commence                (e.g., 30 or 60 days) after the date of this judgment; or

     tr   Payment in   equal                   (e.g., weekly, monthly, quarterly) installments of    $               over a period of
                         (e.g., months or years), to   commence              (e.g., 30 or 60 days) after release from imprisonment to a
          term ofsupervision; or

     tr   Payment during the term of supervised release will commence        within        (e,g., 30 or 60 days) after release from
          imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

     tr   Special instructions regarding the payment of criminal monetary penalties:




Unless the court has expressly ordered otherwise, if this iudement imposes imprisonment. Dayment of criminal monetary penalties is due
during the periodof imfirisoninent. All criminal monetafo pEnalties, 6xcept th6se paymenti riade through the Federal B'uieau of Prisons'
Inmatt Finhncial Respcinsibility Program. are made to thd ilerk of tlie couh.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




D    Joint and Several

     Defendant and Co-Defendant Names and Case Numbers (including defendant number), Joint and Several Amount, and
     corresponding payee, if appropriate.




D    The defendant shall pay the cost ofprosecution.

!    The defendant shall pay the following court cost(s):

X    The defendant shall forfeit the defendant's interest in the following property to the United States:
     A house located at 6449 claremont, it's contents, firearms, bullet proof vest.


                                                                                                                           n"e principar,
ifflf;iTln*iilair""**,ll't*llu,'lr,?ti'J;{}1,,t"'#T?tiJ"'}f?l':iJlilf:T,,""?1l3l.:Tl;l};:,lo':L'Ji'l#l
